

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 74,814






EX PARTE TYRONE L. LEWIS, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


FROM LUBBOCK COUNTY






	Per Curiam.



O P I N I O N




		This is a post-conviction application for a writ of habeas corpus filed pursuant to Article
11.07, V.A.C.C.P.  Applicant was convicted of possession of a controlled substance.  Punishment was
assessed at sixteen years imprisonment.  This conviction was affirmed, Lewis v. State, No. 07-02-0054-CR (Tex. App.Amarillo, delivered July 16, 2002, pet. dism'd). 

	Applicant contends that he was denied an opportunity to file a pro se petition for discretionary
review because his appellate attorney did not timely advise him of the appellate court's decision
affirming his conviction. The record reflects that Applicant was not informed, in a timely manner, of the
affirmance of his conviction on direct appeal.  

	In Ex parte Wilson, 956 S.W.2d 25 (Tex. Crim. App. 1997), we held that for counsel to
render effective assistance on appeal, he, or she, must notify the client the case has been affirmed and
that the client can pursue discretionary review on his own.

	Applicant is entitled to relief. The proper remedy in a case like this is to return Applicant to the
point at which he can file a petition for discretionary review. He may then follow the proper procedures
in order that a meaningful petition for discretionary review may be filed. For purposes of the Texas
Rules of Appellate Procedure, all time limits shall be calculated as if the Court of Appeals' decision had
been rendered on the day the mandate of this Court in this cause issues. We hold that should Applicant
desire to seek discretionary review, he must take affirmative steps to see that his petition is filed in the
Court of Appeals within thirty days after the mandate of this Court has issued.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice, Institutional
and Pardons and Paroles Divisions.

DELIVERED: October 22, 2003

DO NOT PUBLISH


